
Per Curiam.
The appellant appealed from an order made by a judge of this court, and on that appeal served certain papers. It was claimed by the respondents that the appellant had not printed all of the papers that were used on the motion, and the judge before whom the motion was heard ordered that the appellant proceed forthwith to print and serve all the papers referred to in the order appealed from.
It was for that judge to say whether all of the papers used on the motion had or had not been, printed, and we will not review his determination. It was also for him to say whether they had or had not been correctly printed; and his determination of that fact will not be reviewed by us.
The order appealed from directed that a certain order which appeared on the eighth page of the printed papers be stricken therefrom. That order was dated November 3, 1888, while the order appealed from was dated on the 31st of August, and the appeal was taken on the 2d of October, 1888.
From this statement, it clearly appears that the order of November 3, 1888, was no part of the papers that were used on the argument of a motion in August, 1888. For this reason it should not be in the printed book.
The order appealed from is affirmed, with costs.
